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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 FACING FOSTER CARE IN ALASKA,
 et al.,
                       Plaintiffs,
         v.                                         Case No. 1:21-cv-308 (JMC)
 UNITED STATES DEPARTMENT OF
 HEALTH AND HUMAN SERVICES, et al.,
                       Defendants.


                                            ORDER

        This matter is before the Court on the Parties’ Consent Motion for Extension of Time and

Stipulated Request for an Order to Postpone Rule’s Effective Date and Hold the Case in

Abeyance (ECF 29). For the reasons set forth in that consent motion and stipulation, it is hereby

        ORDERED that Plaintiffs’ deadline to respond to Defendants’ pending motion for remand

(ECF 28) is EXTENDED until January 26, 2022. It is

        FURTHER ORDERED that the effective date of those portions of the U.S. Department

of Health and Human Services regulation entitled Health and Human Resources Grants

Regulation, 86 Fed. Reg. 2,257 (Jan. 12, 2021), that amend 45 C.F.R. §§ 75.101(f), 75.300(c),

and 75.300(d), are hereby POSTPONED under 5 U.S.C. § 705 for another 90 days, until April
18, 2022. It is

        FURTHER ORDERED that this case, including Plaintiffs’ emergency application for

a temporary restraining order and motion for a stay pursuant to 5 U.S.C. § 705, or for

preliminary relief pursuant to Federal Rule of Civil Procedure 65 (“Motion”) (ECF 8), shall be

HELD IN ABEYANCE during the postponement period. It is

        FURTHER ORDERED that the Parties shall file a joint status report by April 8, 2022,

if Defendants’ motion for remand (ECF 28) has not been resolved by then.
DATE: December 27, 2021

                                                      JIA M. COBB
                                                      United States District Judge

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